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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
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										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
									
				7mar10:00 am- 4:00 pmOral Arguments
							Event DetailsTuesday, March 7, 2017
10:00 AM
S17F0593 Gibson v. Gibson et al.
S17A0421 Oasis Goodtime Emporium I, Inc., et al. v. City of Doraville
S17A0611 Atkinson v. The State

2:00 PM

S17A0528 Wallace v. Wallace [...]
							
							
									Event Details
									Tuesday, March 7, 2017
10:00 AM
S17F0593 Gibson v. Gibson et al.
S17A0421 Oasis Goodtime Emporium I, Inc., et al. v. City of Doraville
S17A0611 Atkinson v. The State
2:00 PM
S17A0528 Wallace v. Wallace et al.
S17A0630 Merrill v. Lee
S17A0580 Wynn v. Craven
&nbsp;


								
							
						
						
							
							
								
									
																
										Time(Tuesday) 10:00 am - 4:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
									
			
			
						

							Recent News &amp; Reports		
					
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				3/1/17 – JUDGE WRIGHT TO HEAR GEORGIA SUPREME COURT CASE
						
				
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